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                                           UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                       Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                                MOTION INFORMATION STATEMENT
                  22-413
Docket Number(s): ________________________________________                                  _______________Caption [use short title]_____________________

             remote Oral Argument on 5/31/2023
Motion for: ______________________________________________

________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
Defendants-Appellants request remote Oral Argument for Attorney Pietro Lynn on 5/31/2023
________________________________________________________
                                                                                             Mabior Jok v. City of Burlington, Vermont, et al.
________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________
             Joseph Corrow, City of Burlington and Brandon del Pozo
MOVING PARTY:_______________________________________                               Mabior Jok
                                                                    OPPOSING PARTY:____________________________________________


           □
           ___Plaintiff             [Z]
                                    ___Defendant

                                    [Z]
           □
           ___Appellant/Petitioner  ___Appellee/Respondent

                           Pietro J. Lynn                                                 Robb A. Spensely
MOVING ATTORNEY:___________________________________ OPPOSING ATTORNEY:________________________________________
                              [name of attorney, with firm, address, phone number and e-mail]
 Lynn, Lynn, Blackman & Manitsky, P.C.
________________________________________________________         Chadwick & Spensely, PLLC
                                                                _______________________________________________________________
76 St. Paul Street, Suite 400, Burlington, VT 05401
________________________________________________________ 3232 VT RT 7, Pittsford, VT 05763
                                                         _______________________________________________________________
802-860-1500; plynn@lynnlawvt.com
________________________________________________________ 802-725-8318; robb@chadwicklawvt.com
                                                         _______________________________________________________________
                                    District of VermonUHon. William K. Sessions
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                           INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):
            [Z]
                        □
        ___Yes ___No (explain):__________________________
        _______________________________________________
                                                                                           Has this request for relief been made below?
                                                                                                                                            B8
                                                                                           Has this relief been previously sought in this court?
                                                                                                                                                 ___Yes ___No
                                                                                                                                                 ___Yes ___No
                                                                                           Requested return date and explanation of emergency: ________________
                                                                                           _____________________________________________________________
Opposing counsel’s position on motion:
                                                                                           _____________________________________________________________
            [Z]                 □
         ___Unopposed ___Opposed ___Don’t Know
Does opposing counsel intend to file a response:
                                                 □                                         _____________________________________________________________
                                                                                           _____________________________________________________________
            □
         ___Yes ___No ___Don’t Know
                          [Z]         □
Is oral argument on motion requested?
                                                          □
                                                          ___Yes ___No (requests for oral argument will not necessarily be granted)
                                                                  [Z]
Has argument date of appeal been set?                     [Z] Yes □
                                                          ___                               05/31/2023
                                                                  ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:

                                                                                                  [Z]
                                                                                                                □
 Isl Pietro J. Lynn
_________________________________      05/17/2022
                                  Date:__________________ Service by: ___CM/ECF ___Other [Attach proof of service]




Form T-1080 (rev.12-13)
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                   UNITED STATES COURT OF APPEALS
                       FOR THE SECOND CIRCUIT

MABIOR JOK                      )
                                )
         Plaintiff-Appellee,    )
                                )
v.                              )            Docket No. 22-413
                                )
CITY OF BURLINGTON,             )
VERMONT,                        )
et al.,                         )
                                )
         Defendants-Appellants. )

     DEFENDANTS-APPELLANTS’ CONSENTED MOTION FOR
    DEFENDANT-APPELLANT TO APPEAR REMOTELY AT ORAL
                      ARGUMENT

      Defendants-Appellants Officer Joseph Corrow, City of Burlington, Vermont,

and Brandon del Pozo, through their undersigned counsel, pursuant to Fed. R. App.

P. 26(a), and with the consent of Plaintiff-Appellee, respectfully move the Court to

allow the undersigned to appear remotely at the hearing scheduled for Wednesday,

May 31, 2023, by Zoom on due to pandemic-related conditions.

      Good cause exists for this request due to pandemic-related conditions. The

undersigned attorney resides in Shelburne, Vermont, and would need to travel to

New York to appear in person for oral argument. During previous travels, the

undersigned has contracted COVID-19 and experienced severe illness as a result.

The undersigned respectfully requests that he be permitted to appear remotely so as


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to mitigate the risk of again contracting COVID-19 given the severity of his prior

response to the illness.

      Pursuant to Local Rule 27.1(b), Defendants-Appellants state that: (1) they

notified Attorney Robb Spensley, counsel for Plaintiff-Appellee Mabior Jok, of

their intent to file this Motion; (2) Attorney Spensley does not oppose the relief

requested herein; and (3) Attorney Spensley does not intend to file a response to

this Motion.

      Wherefore, Defendants-Appellants respectfully request that the undersigned

be permitted to appear remotely at oral argument on May 31, 2023.

      Date: May 17, 2023

                                       Respectfully submitted,

                                       JOSEPH CORROW, CITY OF
                                       BURLINGTON, VERMONT, AND
                                       BRANDON DEL POZO

                                 By:   /s/ Pietro J. Lynn
                                       Pietro J. Lynn, Esq.
                                       Lynn, Lynn, Blackman & Manitsky, P.C.
                                       Counsel for Defendants-Appellants
                                       76 St. Paul St., Suite 400
                                       Burlington, VT 05401
                                       (802) 860-1500
                                       plynn@lynnlawvt.com




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